         Case 24-10410-amc                    Doc
 Fill in this information to identify the case:
                                                          Filed 06/03/24 Entered 06/03/24 08:55:53                   Desc Main
                                                          Document      Page 1 of 3
B 10 (Supplement 2) (12/11) (post publication draft)
 Debtor 1    Menuhah   Keel
             __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

                                         EASTERN
 United States Bankruptcy Court for the: ______________________              PA
                                                                District of __________
                                                                             (State)
 Case number            24-10410
                       ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                          12/16

                  an provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



                   PennyMac Loan Services, LLC.
 Name of creditor: _______________________________________                                                            12
                                                                                          Court claim no. (if known): __________________

 Last 4 digits of any number you use to                   3054
 identify the debtor s account:                           ____ ____ ____ ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
  X
        No
        Yes. Date of the last notice: ____/____/_____


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses,                                                                                   . Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

       Description                                                       Dates incurred                                    Amount

  1. Late charges                                                        _________________________________           (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________           (2)   $ __________
  3. Attorney fees                                                       _________________________________           (3)   $ __________
  4. Filing fees and court costs                                         _________________________________           (4)   $ __________
  5. Bankruptcy/Proof of claim fees
                                                                             03/25/24
                                                                         _________________________________           (5)       950.00
                                                                                                                           $ __________
  6.                               opinion fees                          _________________________________           (6)   $ __________
  7. Property inspection fees                                            _________________________________           (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________           (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________           (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________          (10)   $ __________
                       410A preparation
 11. Other. Specify:____________________________________
                                                                               03/25/24
                                                                         _________________________________          (11)
                                                                                                                              250.00
                                                                                                                           $ __________
 12. Other. Specify:____________________________________                 _________________________________          (12)   $ __________
 13. Other. Specify:____________________________________                 _________________________________          (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________          (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                               Notice of Postpetition Mortgage Fees, Expenses, and Charges                       page 1
          Case 24-10410-amc                       Doc           Filed 06/03/24 Entered 06/03/24 08:55:53                          Desc Main
                                                                Document      Page 2 of 3

Debtor 1
                 Menuhah Keel
              _______________________________________________________                                               24-10410
                                                                                            Case number (if known) _____________________________________
              First Name       Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

       I am the creditor.
   X
       I am the                                      .


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.

                                                                                                     06/03/2024
                      /s/ Andrew M. Lubin
                  __________________________________________________                        Date    ____/_____/________
                  Signature




 Print:            Andrew M. Lubin
                  _________________________________________________________                 Title   Attorney for creditor
                                                                                                    ___________________________
                  First Name                      Middle Name        Last Name



 Company           McCabe, Weisberg & Conway, LLC
                  _________________________________________________________



 Address           1420 Walnut Street, Suite 1501
                  _________________________________________________________
                  Number                 Street
                   Philadelphia, PA 19102
                  ___________________________________________________
                  City                                               State       ZIP Code




 Contact phone       215 _____
                  (______) 790 _________
                                 1010                                                             ecfmail@mwc-law.com
                                                                                            Email ________________________




Official Form 410S2                                 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
 Case 24-10410-amc             Doc    Filed 06/03/24 Entered 06/03/24 08:55:53           Desc Main
                                      Document      Page 3 of 3

                      UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:   Menuhah Keel                   Chapter 13
                                        Bankruptcy No. 24-10410-amc
                    Debtor(s)

PennyMac Loan Services, LLC., or its Successor
or Assignee
                   Movant
            vs.

Kenneth E. West, Trustee
Menuhah Keel
                     Respondent(s)

     CERTIFICATION OF SERVICE OF NOTICE OF POSTPETITION MORTGAGE
                      FEES, EXPENSES, AND CHARGES

         I, Andrew M. Lubin, attorney for PennyMac Loan Services, LLC., hereby certify that I
 served a true and correct copy of the foregoing Notice of Postpetition Mortgage Fees, Expenses,
 and Charges, by United States Mail, first class, postage prepaid, and/or electronic means, upon
 the following:
 Date Served: 06/03/2024


 Menuhah Keel                    Michael A. Cibik, Esquire          Kenneth E. West
 5234 N 10th St                  Cibik Law, P.C.                    Office of the Chapter 13 Standing
 Philadelphia, PA 19141-4010     1500 Walnut Street                 Trustee
                                 Suite 900                          1234 Market Street - Suite 1813
                                 Philadelphia, PA 19102             Philadelphia, PA19107
                                 Attorney for Debtor                Trustee

                                 United States Trustee
                                 Office of United States Trustee
                                 Robert N.C. Nix Federal Building
                                 900 Market Street Suite 320
                                 Philadelphia, PA 19107



                                          /s/ Andrew M. Lubin
                                          ANDREW M. LUBIN, ESQUIRE ID # 54297
                                          Attorney for PennyMac Loan Services, LLC.
                                          1420 Walnut Street, Suite 1501
                                          Philadelphia, PA 19102
                                          Telephone: (215) 790-1010
                                          Facsimile: (215) 790-1274
                                          Email: ecfmail@mwc-law.com
